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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                   4:07-CR-00086-04-JMM

MICHAEL DARNELL COOPER

                                              ORDER

       Pending is Defendant’s pro se Motion to Appoint Counsel and to Reduce Sentence (Doc.

No. 888), based on the retroactive application of the United States Sentencing Guidelines crack

cocaine penalty reduction.

       Only those persons currently serving a sentence determined or affected by a sentencing

range calculated using the drug quantity table, U.S.S.G. § 2D1.1, are potentially eligible for a

reduction. On June 22, 2009, Defendant was sentenced to 240 months in prison.1 However, his

base offense level and sentence were not determined based on the drug quantity table, but rather

on his status as a “career offender” under U.S.S.G. § 4B1.1.2 Therefore, the amended crack

cocaine sentencing guidelines do not apply.

       Accordingly, Defendant’s Motion to Appoint Counsel and to Reduce Sentence (Doc.

No. 888) is DENIED.

       IT IS SO ORDERED this 15th day of November, 2011.

                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE



       1
           Doc. Nos. 707, 711.
       2
         See the United States Sentencing Commission’s “Reader-Friendly” Version of the Final 2011
Guideline Amendment Implementing the Fair Sentencing Act, available at
http://www.ussc.gov/Meetings_and_Rulemaking/Materials_on_Federal_Cocaine_Offenses/20110428_R
F_Amendments_Pages.pdf

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